 Fill in this information to identify your case:

 Debtor 1                   Christopher Leo Pratt
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF OHIO

 Case number           23-30643
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              53,953.72

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              53,953.72

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $              42,109.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                2,717.92

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              56,645.04


                                                                                                                                     Your total liabilities $                   101,471.96


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                4,007.33

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                3,047.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of 2
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 Debtor 1      Christopher Leo Pratt                                                      Case number (if known) 23-30643

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $    6,648.12


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                  $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $              2,717.92

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                $             30,411.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             33,128.92




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   Christopher Leo Pratt
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

Case number           23-30643
(if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
       No. Go to Part 2.
       Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim           Priority            Nonpriority
                                                                                                                                            amount              amount
2.1          Jordan Dufresne                                     Last 4 digits of account number         8358                       $0.00               $0.00                 $0.00
             Priority Creditor's Name
             216 Cincinnati St                                   When was the debt incurred?
             Huron, OH 44839
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                            Unliquidated
        Debtor 2 only                                            Disputed
        Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

        At least one of the debtors and another                  Domestic support obligations
        Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                       Other. Specify
        Yes                                                                           Child Support Administered by Erie Co CSEA




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 13
                                                                                                              56570



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Debtor 1 Christopher Leo Pratt                                                                            Case number (if known)            23-30643

                                                                                                        NZDZ
                                                                                                        BCDB
2.2        RITA                                                   Last 4 digits of account number       C                   $2,717.92               $2,717.92                   $0.00
           Priority Creditor's Name
           PO Box 94951                                           When was the debt incurred?           2020-2021
           Cleveland, OH 44101-4951
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                             Unliquidated
        Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
        Yes                                                                           TAX DEBT


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Capital One                                               Last 4 digits of account number         5804                                                           $781.00
           Nonpriority Creditor's Name
                                                                                                             Opened 06/22 Last Active
           PO Box 60                                                 When was the debt incurred?             09/20
           Saint Cloud, MN 56302
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Overdraft Bank




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 13




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Debtor 1 Christopher Leo Pratt                                                                 Case number (if known)        23-30643

4.2       Capital One                                      Last 4 digits of account number       5143                                                 $3.78
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                       Opened 06/22 Last Active
          Po Box 30285                                     When was the debt incurred?           2/06/23
          Salt Lake City, UT 84130
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     Credit Card


4.3       Cleveland Clinic                                 Last 4 digits of account number       6187                                                $30.00
          Nonpriority Creditor's Name
          Attention Bankruptcy                             When was the debt incurred?           07062022
          Patient Accounts
          9500 Euclid Ave.
          Cleveland, OH 44195
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     MEDICAL


4.4       Cleveland Clinic                                 Last 4 digits of account number       8347                                                $48.77
          Nonpriority Creditor's Name
          Attention Bankruptcy                             When was the debt incurred?           07062022
          9500 Euclid Ave
          Cleveland, OH 44195
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     MEDICAL




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 13




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4.5       Cleveland Clinic                                 Last 4 digits of account number       7576                                                $90.41
          Nonpriority Creditor's Name
          Attention Bankruptcy                             When was the debt incurred?           07062022
          9500 Euclid Ave
          Cleveland, OH 44195
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     MEDICAL


4.6       Columbia Gas of Ohio                             Last 4 digits of account number       1554                                            $762.36
          Nonpriority Creditor's Name
                                                                                                 Opened 08/22 Last Active
          PO Box 4629                                      When was the debt incurred?           04/22
          Carol Stream, IL 60197-4629
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     Utilities


4.7       Credit One Bank                                  Last 4 digits of account number       8930                                          $1,682.79
          Nonpriority Creditor's Name
          Bankruptcy                                       When was the debt incurred?
          PO Box 98873
          Las Vegas, NV 89193-8873
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     Credit card purchases




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4.8       Emergency Professional Services                  Last 4 digits of account number       2011                                            $591.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                       Opened 11/22/21 Last Active
          7123 Pearl Road                                  When was the debt incurred?           01/19
          Ste 201
          Cleveland, OH 44130
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     MEDICAL


4.9       Finwise Rise                                     Last 4 digits of account number       8235                                          $4,419.00
          Nonpriority Creditor's Name
          Attention Bankruptcy                                                                   Opened 06/22 Last Active
          Po Box 679900                                    When was the debt incurred?           1/20/23
          Dallas, TX 75267
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     Unsecured


4.1                                                                                              g826,497,44
0         Fisher Titus Medical Center                      Last 4 digits of account number       2,168                                         $2,079.93
          Nonpriority Creditor's Name
                                                                                                 Multiple 01/20 03/20 11/21
          272 Benedict Ave.                                When was the debt incurred?           05/22
          Norwalk, OH 44857-2374
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     MEDICAL




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 13




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Debtor 1 Christopher Leo Pratt                                                                 Case number (if known)        23-30643

4.1
1         Genesis FS Card Services                         Last 4 digits of account number       0968                                                $2.00
          Nonpriority Creditor's Name
                                                                                                 Opened 1/03/23 Last Active
          Po Box 4499                                      When was the debt incurred?           2/14/23
          Beaverton, OR 97076
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     Credit Card


4.1
2         Lendmark Financial Ser                           Last 4 digits of account number       9007                                          $7,366.00
          Nonpriority Creditor's Name
                                                                                                 Opened 12/22 Last Active
          2118 Usher St.                                   When was the debt incurred?           1/08/23
          Covington, GA 30014
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
           At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify     Unsecured


4.1
3         Sallie Mae, Inc                                  Last 4 digits of account number       0922                                          $6,374.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                       Opened 08/07 Last Active
          Po Box 9500                                      When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
                                                           Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify
                                                                                Educational




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 13




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Debtor 1 Christopher Leo Pratt                                                                 Case number (if known)        23-30643

4.1
4         Sallie Mae, Inc                                  Last 4 digits of account number       0922                                          $5,976.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                       Opened 01/09 Last Active
          Po Box 9500                                      When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
                                                           Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify
                                                                               Educational
4.1
5         Sallie Mae, Inc                                  Last 4 digits of account number       0922                                          $4,497.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                       Opened 08/07 Last Active
          Po Box 9500                                      When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
                                                           Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify
                                                                               Educational
4.1
6         Sallie Mae, Inc                                  Last 4 digits of account number       0922                                          $4,086.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                       Opened 05/08 Last Active
          Po Box 9500                                      When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                   Contingent
           Debtor 2 only                                   Unliquidated
           Debtor 1 and Debtor 2 only                      Disputed
                                                           Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community          Student loans
          debt                                              Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

           No                                              Debts to pension or profit-sharing plans, and other similar debts
           Yes                                             Other. Specify
                                                                               Educational




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 13




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Debtor 1 Christopher Leo Pratt                                                                Case number (if known)        23-30643

4.1
7         Sallie Mae, Inc                                 Last 4 digits of account number       0922                                          $3,957.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                      Opened 06/09 Last Active
          Po Box 9500                                     When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
                                                          Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify
                                                                              Educational
4.1
8         Sallie Mae, Inc                                 Last 4 digits of account number       0922                                          $3,814.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                      Opened 05/08 Last Active
          Po Box 9500                                     When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
                                                          Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify
                                                                              Educational
4.1
9         Sallie Mae, Inc                                 Last 4 digits of account number       0922                                          $1,707.00
          Nonpriority Creditor's Name
                                                                                                Opened 01/09 Last Active
          Po Box 9635                                     When was the debt incurred?           1/09/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
                                                          Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify
                                                                              Educational




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4.2
0         Synchrony Bank Ashley Furniture                 Last 4 digits of account number       unknown                                       $1,938.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                 Opened 05/22 Last Active
          PO Box 965064                                   When was the debt incurred?           10/20
          Orlando, FL 32896-5064
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify     Credit card purchases


4.2
1         The Bellevue Hospital                           Last 4 digits of account number       3277                                          $2,935.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                      Opened 08/19 Last Active
          1400 W. Main Street                             When was the debt incurred?           07/17
          Bellevue, OH 44811
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify     Medical


4.2
2         The Bellevue Hospital                           Last 4 digits of account number       7351                                           $163.00
          Nonpriority Creditor's Name
                                                                                                Opened 01/20 Last Active
          1400 W. Main St.                                When was the debt incurred?           01/19
          Bellevue, OH 44811
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify     Medical




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4.2
3         U.S. Department of Education                         Last 4 digits of account number       6841                                                  $1,478.00
          Nonpriority Creditor's Name
          Ecmc/Attn: Bankruptcy                                                                      Opened 02/20 Last Active
          P.O. Box 16408                                       When was the debt incurred?           01/23
          Saint Paul, MN 55116
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify     Government Unsecured Guarantee Loan


4.2
4         US bank Acct                                         Last 4 digits of account number       4645                                                    $537.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                           Opened 05/22 Last Active
          Po Box 10497                                         When was the debt incurred?           04/20
          Greenville, SC 29603
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify     Personal Loan


4.2
5         Valley Personnel Inc                                 Last 4 digits of account number       9420                                                  $1,326.00
          Nonpriority Creditor's Name
          1510 TWP Road 1153                                   When was the debt incurred?           Opened 3/12/19
          Ashland, OH 44805
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify     CDL Program Fee

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


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  have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
  notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Account Recovery Solutions                              Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn Bankuptcy                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 630806
Cincinnati, OH 45263-0806
                                                        Last 4 digits of account number                  0188

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Cb Indigo/gf                                            Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 4477
Beaverton, OR 97078
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Credit Management                                       Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
6080 Tennyson Pkwy                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Suite 100
Plano, TX 75024-6002
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Debt Management & Collection                            Line 4.23 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Systems- Attn: Bankruptcy                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 5609
Greenville, TX 75403
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Dept Ed Aidvantage                                      Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
PO Box 740351                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 30348
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Erie County CSEA                                        Line 2.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
221 W Parish St                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Sandusky, OH 44870-4886
                                                        Last 4 digits of account number                  8358

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
First Credit                                            Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn Bankruptcy                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 630838
Cincinnati, OH 45263-0838
                                                        Last 4 digits of account number                  5699

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
First Credit                                            Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn Bankruptcy                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 630838
Cincinnati, OH 45263-0838
                                                        Last 4 digits of account number                  5607

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
First Credit                                            Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn Bankruptcy                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 630838
Cincinnati, OH 45263-0838
                                                        Last 4 digits of account number                  5655

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
HMC                                                     Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
29065 Clemens Road

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Ste 200
Westlake, OH 44145
                                        Last 4 digits of account number                3277

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
HMC Group                               Line 4.22 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                Part 2: Creditors with Nonpriority Unsecured Claims
29065 Clemens Road
Ste 200
Westlake, OH 44145
                                        Last 4 digits of account number                7351

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                        Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
6801 S. Cimarron Road                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Suite 424-J
Las Vegas, NV 89113
                                        Last 4 digits of account number                6913

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                        Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
6801 S. Cimarron Road                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Suite 424-J
Las Vegas, NV 89113
                                        Last 4 digits of account number                7674

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                        Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
6801 S. Cimarron Road                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Suite 424-J
Las Vegas, NV 89113
                                        Last 4 digits of account number                0119

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                        Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
6801 S. Cimarron Road                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Suite 424-J
Las Vegas, NV 89113
                                        Last 4 digits of account number                5549

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
Norwalk Municipal Court                 Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
45 N. Linwood Ave.                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Norwalk, OH 44857
                                        Last 4 digits of account number                0287

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
Rbc, Inc                                Line 4.25 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 1548
Mansfield, OH 44901
                                        Last 4 digits of account number

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
Resurgent Capital Services              Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
PO Box 10497                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Greenville, SC 29603-0497
                                        Last 4 digits of account number                4122

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
Resurgent Capital Services              Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
PO Box 10497                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Greenville, SC 29603-0497
                                        Last 4 digits of account number                1016

Name and Address                        On which entry in Part 1 or Part 2 did you list the original creditor?
Rodier Law Offices Inc                  Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
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5055 Enterprise Blvd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Toledo, OH 43612
                                                             Last 4 digits of account number                      0287

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
State Collection & Recovery Service                          Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
PO Box 678                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Monroeville, OH 44847
                                                             Last 4 digits of account number                      6351

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                    2,717.92
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    2,717.92

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                  30,411.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  26,234.04

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  56,645.04




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Fill in this information to identify your case:

Debtor 1                    Christopher Leo Pratt
                            First Name               Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name               Middle Name              Last Name


United States Bankruptcy Court for the:           NORTHERN DISTRICT OF OHIO

Case number              23-30643
(if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                    12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

        Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Christopher Leo Pratt                                            X
             Christopher Leo Pratt                                                Signature of Debtor 2
             Signature of Debtor 1

             Date       June 8, 2023                                              Date




Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules




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